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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.2
                                Eastern Division

Matthew Wiersema
                                    Plaintiff,
v.                                                  Case No.: 1:20−cv−00291
                                                    Honorable Sharon Johnson Coleman
Village of Melrose Park, et al.
                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, April 6, 2020:


        MINUTE entry before the Honorable Sharon Johnson Coleman: Pursuant to the
Northern District of Illinois' Second Amended General Order 20−0012, the 4/17/2020
status hearing is stricken. The Court will reset the status hearing at a later date. Mailed
notice. (ym, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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